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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )            8:06CR61
                     Plaintiff,                   )
                                                  )
       vs.                                        )           REPORT AND
                                                  )
JESUS ALBERTO PADILLA-PALACIOS,                   )      RECOMMENDATION
                                                  )
                     Defendant.                   )        ON GUILTY PLEA


       On August 2, 2006, defendant Jesus Alberto Padilla-Palacios (Padilla-Palacios),
together with his counsel, Michael D. Nelson, appeared before the undersigned magistrate
judge and was advised of the charges, the penalties and the right to appear before a
United States District Judge. After orally consenting to proceed before a magistrate judge,
Padilla-Palacios entered a plea of guilty to Count I of the Indictment.
       After being sworn, Padilla-Palacios was orally examined by the undersigned
magistrate judge in open court as required by Federal Rule of Criminal Procedure 11.
Padilla-Palacios also was given the advice required by that Rule. Finally, Padilla-Palacios
was given a full opportunity to address the court and ask questions.
       Counsel for the government and counsel for Padilla-Palacios were given the
opportunity to suggest additional questions by the court. Moreover, both counsel orally
certified that they were of the opinion that the plea was knowing, intelligent and voluntary,
and that there was a factual basis for Padilla-Palacios’s plea of guilty to Count I of the
Indictment.
       Therefore, I find and conclude that: (1) the plea is knowing, intelligent, and
voluntary; (2) there is a factual basis for the plea; (3) the provisions of Rule 11 and any
other provisions of the law governing the submission of guilty pleas have been complied
with; (4) a petition to enter a plea of guilty, on a form approved by the court, was completed
by Padilla-Palacios, Padilla-Palacios’s counsel and counsel for the government, and such
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petition was placed in the court file (Filing No. 80); (5) the plea agreement is in writing and
is filed in the court file (Filing No. 81); (6) there were no other agreements or stipulations
other than as contained in the written plea agreement.


       IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
       1.     She accept the guilty plea and find the defendant, Jesus Alberto Padilla-
Palacios, guilty of the crime set forth in Count I of the Indictment to which Padilla-Palacios
tendered a guilty plea;
       2.     She accept the written plea agreement with the understanding that the court
is not bound by the parties’ stipulations, but may with the aid of the presentence report,
determine the facts relevant to sentencing.


                                       ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
be filed with the Clerk of the Court within ten (10) days after being served with a copy of
this Report and Recommendation. Failure to timely object may constitute a waiver of any
such objection. The brief in support of any objection shall be filed at the time of filing such
objection.   Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.


       DATED this 2nd day of August, 2006.


                                                   BY THE COURT:


                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge




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